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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                       Case No. 20-23527-Civ-WILLIAMS/TORRES

  RICHARD M. BUSH, individually and
  on behalf of all others similarly situated,

         Plaintiff,

  v.

  BLINK CHARGING COMPANY,
  MICHAEL D. FARKAS, and
  MICHAEL P. RAMA,

         Defendants.
                                        /

      ORDER APPOINTING CO-LEAD PLAINTIFFS AND CO-LEAD COUNSEL

         This matter is before the Court on several pending motions for the

  appointment of Lead Plaintiff and the approval of Lead Counsel.      [D.E. 19, 20, 21,

  23].   Having reviewed the pending motions and accompanying memoranda of law,

  the Court hereby appoints Tianyou Wu (“Wu”), Alexander Yu (“Yu”) and H. Marc

  Joseph (“Joseph”) as Co-Lead Plaintiffs in the above-captioned consolidated action

  (“Consolidated Action”).1 [D.E. 21, 23]. These plaintiffs satisfy the requirements

  for Co-Lead Plaintiffs pursuant to Section 21D(a)(3)(B)(iii) of the Private Securities

  Litigation Reform Act of 1995 (“PSLRA”).


  1     Tamer Adiguzel (“Adiguzel”) and Mark Friedman (“Friedman”) each filed a
  notice of non-opposition to the appointments of Wu, Yu, and Joseph as Leads
  Plaintiffs. Thus, their motions are DENIED as moot. [D.E. 19, 20]. As for Wu,
  Yu, and Joseph, they each agreed to serve as Co-Lead Plaintiffs. Their motions are
  therefore unopposed. [D.E. 21, 23].
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        Co-Lead Plaintiffs, pursuant to Section 21D(a)(3)(B)(v) of the PSLRA, have

  selected and retained Pomerantz LLP and Hagens Berman Sobol Shapiro LLP as

  Co-Lead Counsel.

        Co-Lead Counsel shall have the following responsibilities and duties, to be

  carried out either personally or through counsel whom lead counsel shall designate:

               (a)   to coordinate the briefing and argument of motions;

               (b)   to coordinate the conduct of discovery proceedings;

               (c)   to coordinate the examination of witnesses in depositions;

               (d)   to coordinate the selection of counsel to act as a spokesperson at
                     pretrial conferences;

               (e)   to call meetings of the plaintiffs’ counsel as they deem necessary
                     and appropriate from time to time;

               (f)   to coordinate all settlement negotiations with counsel for
                     defendants;

               (g)   to coordinate and direct the pretrial discovery proceedings and
                     the preparation for trial and the trial of this matter and to
                     delegate work responsibilities to selected counsel as may be
                     required; and

               (h)   to supervise any other matters concerning the prosecution,
                     resolution or settlement of the Consolidated Action.

        No motion, request for discovery, or other pretrial proceedings shall be

  initiated or filed by any plaintiffs without the approval of Co-Lead Counsel, so as to

  prevent duplicative pleadings or discovery by plaintiffs. No settlement negotiations

  shall be conducted without the approval of Co-Lead Counsel.

        Counsel in any related action that is consolidated with this Consolidated

  Action shall be bound by this organization of Co-Lead Counsel.

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        Co-Lead Counsel shall have the responsibility of receiving and disseminating

  Court orders and notices.

        Co-Lead Counsel shall be the contact between plaintiffs’ counsel, and shall

  direct and coordinate the activities of plaintiffs’ counsel.

        Defendants shall effectuate service of papers on plaintiffs by serving a copy of

  the same on Co-Lead Counsel by overnight mail service, electronic or hand delivery.

  Plaintiffs shall effectuate service of papers on defendants by serving a copy of the

  same on defendants’ counsel by overnight mail service, electronic or hand delivery.

        During the pendency of this litigation, or until further order of this Court, the

  parties shall take reasonable steps to preserve all documents within their possession,

  custody, or control, including computer-generated and stored information, and

  materials such as computerized data and electronic mail, containing information

  which is relevant or which may lead to the discovery of information relevant to the

  subject matter of the pending litigation.

        DONE AND ORDERED in Chambers at Miami, Florida, this 21st day of

  December, 2020.

                                                  /s/ Edwin G. Torres
                                                  EDWIN G. TORRES
                                                  United States Magistrate Judge




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